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KANE & SILVERMAN, P.C.                      Attorney for Plaintiff
BY: Howard G. Silverman, Esquire
Identification No: 48319
hgs@palegaladvice.com
2401 Pennsylvania Avenue, Suite 1A-5        MAJOR CASE
Philadelphia, PA 19130                      JURY TRIAL DEMANDED
(215) 232-1000_________________________________________________________________
         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY,
                                   PENNSYLVANIA
                                 CIVIL ACTION – LAW

H.G. LITIGATION GROUP, LLC, 2401            :
Pennsylvania Avenue, Philadelphia, PA       :
19130,                                      :
                                            :
KANE & SILVERMAN, P.C., 2401                :
Pennsylvania Avenue, Philadelphia, PA       :       MARCH TERM, 2021
19130 and One Eves Drive Suite 111          :
Marlton N.J. 08053,                         :
                                            :
HAGGERTY & SILVERMAN, P.C., 240             :
North Duke Street, Lancaster, PA 17602      :
             Plaintiffs                     :       NO: 00345
       v.                                   :
                                            :
TD BANK, N.A., 1701 Route 70 East,          :
Cherry Hill, N.J. 08034,                    :
TD GROUP US HOLDINGS, LLC, 1701             :
Route 70 East, Cherry Hill, NJ 08034,       :
TD BANK US HOLDING COMPANY,                 :
2 Portland Square, Portland, ME,            :
04101-4088                                  :
               Defendants                   :

                                        COMPLAINT

                                          PARTIES

       1.     Plaintiff H.G. Litigation Group is a Pennsylvania business entity with its principal

place of business at 2401 Pennsylvania Avenue, Suite 1A5, Philadelphia, PA 19130.

       2.     Plaintiff Kane & Silverman, P.C. is a Pennsylvania business entity with its place of

business at 2401 Pennsylvania Avenue, Suite 1A5, Philadelphia, PA 19130 and One Eves Drive,

Suite 111, Marlton, New Jersey 08053.


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       3.     Plaintiff Haggerty & Silverman, P.C. is a Pennsylvania business entity with its

principal place of business at 240 North Duke Street, Lancaster, PA 17603.

       4.     Defendant T.D. Bank, N.A. is a business entity with its principal place of business

at 1701 Route 70 East, Cherry Hill, N.J. 08034.

       5.     Defendant TD Group U.S. Holdings, LLC is a business entity with its principal

place of business at 1701 Route 70 East, Cherry Hill, NJ 08034.

       6.     Defendant TD Bank US Holding Co. is a business entity with its principal place of

business at 2 Portland Square, Portland, ME, 04101-4088.

                                           VENUE

       7.     Venue is proper under Pa. R. Civ. P. 2179, as the Defendants regularly conduct

business in Philadelphia County, Pennsylvania.

                                    OPERATIVE FACTS

       8.     At all times relevant to this action, an individual named Molly Moore held a

checking account at TD Bank.

       9.     In the summer of 2017 Molly Moore applied for a job assisting in the management

of the Plaintiff law firms Kane and Silverman P.C. and Haggerty and Silverman P.C. Kane and

Silverman has offices in Philadelphia, Pennsylvania and Marlton, New Jersey. Haggerty and

Silverman is located in Lancaster, Pennsylvania.

       10.    Plaintiff H.G Litigation Group LLC is an entity that processes vendor payments on

behalf of the two Plaintiff law firms, Kane and Silverman P.C. and Haggerty and Silverman P.C.

       11.    In 2017, Mrs. Moore was initially retained as a contract employee. In January of

2018, she was hired by Kane and Silverman as a full-time employee.

       12.    On January 9, 2018, Mrs. Moore completed employment paper work which




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indicated, among other things that she resided at 2024 Garden Road, Mays Landing, NJ 08330

with her husband Christopher Bounds.

       13.        Additionally, Mrs. Moore provided her personal noncommercial TD Bank account

information for payroll direct deposit. This consisted of a voided check bearing only her individual

name (Exhibit A, with account number redacted for privacy).

       14.        At various times relevant to the claims asserted, on information and belief,

Christopher Bounds, Molly Moore's husband, was operating in New Jersey a non-licensed

contracting company under the name(s) of either M.L. Bounds and/or Bounds Contracting.

       15.        During the course of her employment with Kane and Silverman, Mrs. Moore would

post entries into the accounting system indicating that checks were made payable to vendors, but

then actually made those checks payable to “Bounds Contracting/M.L. Bounds.”

       16.        Mrs. Moore and/or her husband would then endorse and remotely deposit those

checks into Mrs. Moore’s T.D. Bank account. During a period from February 15, 2018 through

March 19, 2020, Mrs. Moore created over 175 checks payable to “Bounds Contracting/M.L.

Bounds” totaling $130,725.39 and all were remotely deposited into her TD Bank Account (Exhibit

B, check ledgers and Exhibit C, fraudulent checks deposited into Mrs. Moore’s account, with

account numbers redacted for privacy).

       17.        Throughout the relevant time period, Defendants wrongfully and/or negligently

allowed the fraudulent checks made payable to “Bounds Contracting/M.L. Bounds” to be

deposited into Mrs. Moore’s personal bank account with unauthorized payees and endorsements,

and never contacted Plaintiffs or otherwise investigated whether the checks were being falsified,

thereby causing Plaintiff to incur losses in the amount of $130,725.39, plus interest from the dates

of such losses.




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                      COUNT ONE – 13 Pa. C.S.A. section 3404

H.G. Litigation Group, Kane & Silverman, P.C. and Haggerty & Silverman, P.C. v. T.D.
       Bank, NA, TD Group U.S. Holdings, LLC, and TD Bank US Holding Co.

     18.   All preceding paragraphs are incorporated by reference.

     19.   13 Pa. C.S.A. section 3404 provides:

           (a) Impostor. — If an impostor, by use of the mails or otherwise,
           induces the issuer of an instrument to issue the instrument to the
           impostor, or to a person acting in concert with the impostor, by
           impersonating the payee of the instrument or a person authorized to
           act for the payee, an indorsement of the instrument by any person in
           the name of the payee is effective as the indorsement of the payee in
           favor of a person who, in good faith, pays the instrument or takes it
           for value or for collection.

           (b) Fictitious payee. — If a person whose intent determines to
           whom an instrument is payable (section 3110(a) or (b)) does not
           intend the person identified as payee to have any interest in the
           instrument or the person identified as payee of an instrument is a
           fictitious person, the following rules apply until the instrument is
           negotiated by special indorsement:
                    (1) Any person in possession of the instrument is its holder.
                    (2) An indorsement by any person in the name of the payee
                    stated in the instrument is effective as the indorsement of the
                    payee in favor of a person who, in good faith, pays the
                    instrument or takes it for value or for collection.
           (c) When indorsement made in name of payee. — Under subsection
           (a) or (b), an indorsement is made in the name of a payee if:
                    (1) it is made in a name substantially similar to that of the
                    payee; or
                    (2) the instrument, whether or not indorsed, is deposited in
                    a depositary bank to an account in a name substantially
                    similar to that of the payee.

           Failure to exercise ordinary care. — With respect to an instrument
           to which subsection (a) or (b) applies, if a person paying the
           instrument or taking it for value or for collection fails to exercise
           ordinary care in paying or taking the instrument and that failure
           substantially contributes to loss resulting from payment of the
           instrument, the person bearing the loss may recover from the person
           failing to exercise ordinary care to the extent the failure to exercise
           ordinary care contributed to the loss.




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        20.     Defendants were negligent and failed to exercise ordinary care when they

repeatedly accepted the checks with fraudulent and/or unauthorized payees and deposited them

into Molly Moore’s account from February 15, 2018 through March 19, 2020, without contacting

Plaintiffs or investigating whether the checks were unauthorized and/or falsified.

        21.     Defendants’ failure to exercise ordinary care, which included but was not limited

to having systems in place to confirm the authenticity of the remote deposit or to otherwise confirm

the legality and authenticity of the remote deposit transaction, caused and/or contributed to

Plaintiffs’ loss.

        22.     As a direct and proximate result of Defendant’s breach of its duty to exercise

ordinary care, Plaintiffs have been damaged in the amount of $130,725.39, plus interest.

        WHEREFORE, Plaintiffs respectfully request judgment in their favor and against

Defendant in the amount of $130,725.39, plus interest, costs, and such other relief as the Court

deems just.

                                   COUNT TWO - Negligence

 H.G. Litigation Group, Kane & Silverman, P.C. and Haggerty & Silverman, P.C. v. T.D.
        Bank, NA, TD Group U.S. Holdings, LLC, and TD Bank US Holding Co.

        23.     All preceding paragraphs are incorporated by reference.

        24.     Defendants owed Plaintiffs a duty to use ordinary care, as set forth in 13 Pa. C.S.A.

section 3404 as well as the common law of negligence.

        25.     Defendants breached their duty of care in the following ways:

                a.     accepting the checks with fraudulent and/or unauthorized payees and
                       depositing them into Molly Moore’s account.

                b.     failing to contact Plaintiffs when the checks were presented.

                c.     failing to investigate whether Molly Moore was an authorized payee
                       before accepting the checks for deposit.



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               d.     failing to investigate whether ML Bounds was an authorized payee before
                      accepting the checks for deposit.

               e.     failing to investigate whether Bounds Contracting was an authorized
                      payee before accepting the checks for deposit.

               f.     failing to investigate whether Molly Moore was authorized to endorse the
                      checks before accepting the checks for deposit.

               g.     failing to investigate whether Molly Moore was authorized to deposit the
                      checks before accepting the checks for deposit.

               h.     failing to implement reasonable systems and standards to safeguard the
                      public from foreseeable criminal acts of check falsification.

       26.     As a direct and proximate result of Defendants’ breach of its duty of ordinary care

from February 15, 2018 through March 19, 2020, Plaintiffs have been damaged in the amount of

$130,725.39, plus interest.

       WHEREFORE, Plaintiffs respectfully request judgment in their favor and against

Defendant in the amount of $130,725.39, plus interest, costs, and such other relief as the Court

deems just.




                                             KANE & SILVERMAN, P.C.




       01/04/2022
                                            Howard G. Silverman
Date: ___________________               By: __________________________
                                            Howard G. Silverman, Esquire
                                            Attorney Identification No. 48319
                                            Attorney for Plaintiffs




                                                                                         Case ID: 210300345
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KANE & SILVERMAN, P.C.                      Attorney for Plaintiff
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2401 Pennsylvania Avenue, Suite 1A-5        MAJOR CASE
Philadelphia, PA 19130                      JURY TRIAL DEMANDED
(215) 232-1000_________________________________________________________________
         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY,
                                   PENNSYLVANIA
                                 CIVIL ACTION – LAW

H.G. LITIGATION GROUP, LLC,                 :
KANE & SILVERMAN, P.C., and                 :
HAGGERTY & SILVERMAN, P.C.                  :       MARCH TERM, 2021
            Plaintiffs                      :       NO: 00345
       v.                                   :
                                            :
TD BANK, N.A.,                              :
TD GROUP US HOLDINGS, LLC, and              :
TD BANK US HOLDING COMPANY,                 :
           Defendants                       :

                               CERTIFICATE OF SERVICE
       I hereby certify that I am this day serving a true and correct copy of the foregoing
document upon the person(s) and in the manner indicated below, which service satisfies the
requirements of Pa. R.C.P. 440.

                   SERVICE BY EMAIL ADDRESSED AS FOLLOWS:

        Janine M. Leicht, Esq., Julia F. Montgomery, Esq., and Susan M. Leming, Esq.
                                    Brown & Connery, LLP
                                      360 Haddon Avenue
                                      Westmont, NJ 08108
          Email to: jleicht@brownconnery.com, jmontgomery@brownconnery.com,
                               and sleming@brownconnery.com


                                        KANE & SILVERMAN, P.C.



                                             Howard G. Silverman
DATE: 01/04/2022                         By:________________________________
                                            Howard G. Silverman, Esquire
                                            Attorney ID. 48319
                                            Attorney for Plaintiffs



                                                                                        Case ID: 210300345
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                                                 Filed and Attested by the
                                                Office of Judicial Records
                                                    04 JAN 2022 01:32 pm
                                                         G. IMPERATO




                   EXHIBIT A


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                                                 Office of Judicial Records
                                                     04 JAN 2022 01:32 pm
                                                          G. IMPERATO




                    EXHIBIT B


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